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                          UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  ) Case No.
PAUL FRIDAY AND LUIBA FRIDAY,                     )
h/w                                               )
                                                  )
          Plaintiffs,                             )
                                                  ) COMPLAINT WITH JURY TRIAL
v.                                                ) DEMANDED
                                                  )
SYNGENTA CROP PROTECTION                          )
LLC, SYNGENTA AG, and                             )
CHEVRON U.S.A., INC.,                             )
                                                  )
          Defendants.                             )

                                              COMPLAINT
          Plaintiffs Paul Friday and Luiba Friday, bring this Complaint against Defendants,

Syngenta Crop Protection LLC, Syngenta AG, and Chevron U.S.A., Inc., and alleges as follows:

     I.   Summary Of The Case

          1.      The manufacturers and sellers of paraquat deliberately concealed the dangers of

paraquat for at least four decades, hid evidence of its dangers from government safety agencies,

and knowingly unleashed a product they knew caused Parkinson’s Disease on the public.

          2.      Paraquat is a synthetic chemical compound 1 that since the mid-1960s has been

developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

herbicide products (“paraquat products”) developed, registered, formulated, distributed, and sold

for use in the United States (“U.S.”), including the Commonwealth of Pennsylvania

(“Pennsylvania”).




1
 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide Chemical
Code 061602).
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         3.       From approximately May 1964 through approximately June 1981, Imperial

Chemical Industries Limited (“ICI Limited”) and certain ICI Limited subsidiaries2, and from

approximately June 1981 through approximately September 1986, Imperial Chemical Industries

PLC (“ICI PLC”) and certain ICI PLC subsidiaries, each of which was a predecessor3 of

Defendant SYNGENTA AG (“SAG”) and/or Defendant SYNGENTA CROP PROTECTION

LLC (“SCPLLC”), were engaged, directly, acting in concert with each other, and/or acting in

concert with Chevron Chemical Company, previously known as California Chemical Company

(“CHEVRON”), in the business of developing, registering, manufacturing, distributing, and

selling paraquat for use as an active ingredient in paraquat products, and developing, registering,

formulating, and distributing paraquat products, for sale and use in the U.S., including

Pennsylvania (“the U.S. paraquat business”).

         4.       From approximately May 1964 through approximately September 1986,

CHEVRON, a predecessor of Defendant CHEVRON U.S.A., INC. (“CUSA”), was engaged,

directly and/or acting in concert with ICI4, in all aspects of the U.S. paraquat business.

         5.       Between approximately May 1964 and approximately September 1986, ICI

manufactured and sold to CHEVRON paraquat (“ICI-CHEVRON paraquat”) for use by

CHEVRON, and others to which CHEVRON distributed it, as an active ingredient in paraquat

products that CHEVRON and others formulated and distributed for sale and use in the U.S.,

including Pennsylvania and Michigan (“ICI-CHEVRON paraquat products”).




2
  As used in this Complaint, “subsidiary” means a corporation or other business entity’s wholly‐ owned subsidiary
that is or formerly was engaged in the U.S. paraquat business directly or acting in concert with others.
3
  As used in this Complaint, “predecessor” means a corporation or other business entity or subsidiary thereof, to
which a Defendant is a successor by merger, continuation of business, or assumption of liabilities, that formerly was
engaged in the U.S. paraquat business directly or acting in concert with others.
4
  As used in this Complaint, “ICI” means ICI Limited and various ICI Limited subsidiaries through approximately
June 1981 and ICI PLC and various ICI PLC subsidiaries thereafter.

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        6.      From approximately September 1986 through the present, ICI PLC and certain

ICI PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors

and certain subsidiaries of each (including predecessors of SCPLLC), and most recently SAG and

certain SAG subsidiaries (including SCPLLC), have been engaged, directly and/or acting in

concert with each other, in all aspects of the U.S. paraquat business.

        7.      From approximately September 1986 through the present, ICI PLC and certain

ICI PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors

and certain subsidiaries of each (including predecessors of SCPLLC), and most recently SAG and

certain SAG subsidiaries (including SCPLLC), have manufactured paraquat (“ICI-SYNGENTA

paraquat”) for their own use, and for use by others to which they distributed it, as an active

ingredient in paraquat products that SCPLLC and its predecessors and others have distributed for

sale and use in the U.S., including Pennsylvania and Michigan (“ICI-SYNGENTA paraquat

products”).

        8.      Upon information and belief, Plaintiff Paul Friday purchased and/or used in

Michigan ICI-CHEVRON             paraquat products and/or ICI-SYNGENTA paraquat products

(collectively, “Defendants’ paraquat products”).

        9.      Upon information and belief, Plaintiff Paul Friday used Defendants’ paraquat

products regularly and frequently over a period of many years.

        10.     Today, Plaintiff Paul Friday suffers from Parkinson’s disease caused by many

years of regular, frequent, prolonged exposure to paraquat from Defendants’ paraquat products,

and Plaintiff Luiba Friday has suffered losses of the services and consortium of Plaintiff Paul

Friday as a result of his illness.




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       11.       Plaintiffs bring this case to recover from Defendants, under the following theories

of liability, compensation for injuries and damages caused by the exposure of Plaintiff Paul

Friday to paraquat from Defendants’ paraquat products, plus costs of suit: strict product

liability—design defect; strict product liability—failure to warn; negligence and willful and

wanton conduct; public nuisance; violation of the Michigan Unfair and Prohibited Trade

Practices and Frauds Act and the Pennsylvania Unfair Trade Practices and Consumer Protection

Law; and breach of the implied warranty of merchantability. Plaintiffs also seek punitive

damages under Pennsylvania common law and punitive damages and reasonable attorney’s fees

under the Michigan Unfair and Prohibited Trade Practices and Frauds Act and the Pennsylvania

Unfair Trade Practices and Consumer Protection Law.

       12.       All allegations contained herein are based upon information and belief and to the

best of Plaintiffs’ knowledge given the information currently in Plaintiffs’ possession. Plaintiff

reserves the right to amend all allegations upon continued information becoming available by

discovery or otherwise.

 II.   Parties

             A. Plaintiffs

       13.       Plaintiffs Paul Friday and Luiba Friday are husband and wife and citizens of the

Michigan. Plaintiffs reside in Berrien County, Michigan.

       14.       Plaintiff Paul Friday operated a peach farm in Michigan from approximately 1962

through 2013, and about four times a year during this period, was nearby when Defendants’

paraquat products were sprayed and in fields after they were sprayed.




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       15.    Plaintiff Paul Friday mixed, loaded, and applied Defendants’ paraquat products on

his peach farm in Michigan from approximately 1962 through 2013, doing this work almost

every day between June and August and less frequently in May.

       16.    From approximately 1962 through 2013, Plaintiff Paul Friday was repeatedly

exposed to and inhaled, ingested, and absorbed paraquat while he was mixing, loading, and

spraying Defendants’ paraquat products and while he was in fields after they were sprayed.

       17.    Each exposure of Plaintiff Paul Friday to paraquat from Defendants’ paraquat

products caused or contributed to cause Plaintiff Paul Friday to develop Parkinson’s disease,

with which he was diagnosed in 2017 when he was 75 years of age, by initiating a decades-long

process in which oxidation and oxidative stress, created or aggravated by the ongoing redox

cycling of paraquat, damaged and interfered with essential functions of dopaminergic neurons in

his SNpc, resulting in the ongoing degeneration and death, as time passed, of progressively more

dopaminergic neurons.

       18.    Plaintiff Paul Friday was exposed to paraquat in Defendants’ paraquat products

purchased by, among others, Plaintiff Paul Friday and/or his employer.

       19.    Defendant and those with whom it was acting in concert manufactured and

distributed the paraquat that was used in formulating Defendants’ paraquat products and to

which Plaintiff Paul Friday was exposed, and formulated and distributed Defendants’ paraquat

products that contained the paraquat to which Plaintiff Paul Friday was exposed, intending or

expecting that these products would be sold and used in the State of Michigan.

       20.    When Plaintiff Paul Friday was exposed to paraquat, he neither knew nor could

have expected that paraquat was neurotoxic or that exposure to it could cause any neurological

injury or neurodegenerative disease.



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       21.      When Plaintiff Paul Friday was exposed to paraquat, he neither knew nor could

have expected that wearing gloves, a mask, or other personal protective equipment or taking any

other precautions might have prevented or reduced the risk of a neurological injury or

neurodegenerative disease caused by exposure to paraquat.

       22.      Plaintiff Paul Friday only recently, within two years of this Complaint being filed,

learned that paraquat caused his injuries. Prior to this, he did not have knowledge of any facts

that would have put him on notice that his Parkinson’s Disease was due to Defendants’ product

nor has there been widespread media coverage that put him on notice.

       23.      Plaintiff did not know and was unable to learn of the connection between

Defendants’ product and his injuries due to the concealment of the information by Defendants

and its ongoing campaign stating there is no connection between paraquat and Parkinson’s

Disease. See www.paraquat.com.

             B. Defendants

       24.      SYNGENTA CROP PROTECTION LLC is a Delaware limited liability company

with its principal place of business in Greensboro, North Carolina. SCPLLC is a wholly-owned

subsidiary of Defendant SAG.

       25.      SYNGENTA AG is a foreign corporation with its principal place of business in

Basel,Switzerland.

       26.      CHEVRON U.S.A., INC. is a Pennsylvania corporation with its principal place of

business in San Ramon, California.

III.   Subject Matter Jurisdiction

       27.      This Court has subject matter jurisdiction over this action because diversity

jurisdiction exists under 28 U.S.C. § 1332(a)(3).



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        28.      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, because each Plaintiff seeks an amount that exceeds this sum or value on each

of his or her claims against each Defendant.

        29.      Complete diversity exists because this is an action between citizens of different

states in which a citizen or subject of a foreign state is an additional party, inthat:

              a. Plaintiffs are citizens of the State of Michigan;

              b. SCPLLC is a citizen of the States of Delaware and North Carolina;

              c. CUSA is a citizen of the Commonwealth of Pennsylvania and State of California;
                 and

              d. SAG is a citizen or subject of the nation of Switzerland.

IV.     Personal Jurisdiction

        30.      This Court has personal jurisdiction over CUSA by virtue of the fact that CUSA is

a citizen of the Commonwealth of Pennsylvania.

        31.      This Court has personal jurisdiction over SCPLLC under 42 Pa.C.S.A. §

5301(a)(2) by virtue of SCPLLC’s registration to do business in the Commonwealth of

Pennsylvania as a foreign corporation under the laws of this Commonwealth.

        32.      This Court further has personal jurisdiction over each of the Defendants in this

diversity case because a state court in the Commonwealth of Pennsylvania would have such

jurisdiction under 42 Pa.C.S.A. § 5301, in that:

              a. Over a period of two (Chevron) to six (Syngenta) decades, each Defendant and/or
                 its predecessor(s), together with those with whom they were acting in concert,
                 manufactured paraquat for use as an active ingredient in paraquat products,
                 distributed paraquat to formulators of paraquat products, formulated paraquat
                 products, marketed paraquat products to the Pennsylvania agricultural
                 community, and/or distributed paraquat products, intending that such products
                 regularly would be, and knowing they regularly were, sold and used in the
                 Commonwealth of Pennsylvania; and



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             b. These contacts between each Defendant and/or its predecessors, together with
                those with whom they were acting in concert, and the Commonwealth of
                Pennsylvania, were continuous and systematic and part of its general business
                within this Commonwealth where Defendants purposefully availed themselves
                of the privilege of conducting its business activities within this
                Commonwealth which were so regular, frequent, and sustained as to provide fair
                warning that it might be hauled into court there, such that requiring it to defend
                this action in the Commonwealth of Pennsylvania does not offend traditional
                notions of fair play and substantial justice.


 V.    Venue

       33.      Venue is proper in this district under 28 U.S.C. § 1391(b)(3) because there is no

district in which this action may be brought under 28 U.S.C. § 1391(b)(1) or (2) and each of the

Defendants is subject to this Court’s personal jurisdiction with respect to this action.

VI.    Allegations Common To All Causes Of Action

             A. Defendants and their predecessors

                 1.      Syngenta Crop Protection LLC and Syngenta AG

       34.      SAG is the successor in interest to the crop-protection business of each of its

predecessors, AstraZeneca PLC (“AstraZeneca”), Zeneca Group PLC (“Zeneca Group”), ICI

PLC, ICI Limited, and Plant Protection Limited (“PP Limited”) and their respective crop-

protection subsidiaries (collectively, “SAG’s predecessors”), in that:

             a. SAG, and each of SAG’s predecessors, was the result of a corporate name change
                by, de facto consolidation or merger of, or mere continuation of, its immediate
                predecessor(s); and/or

             b. SAG has expressly or impliedly agreed to assume any liability on claims arising
                from the historical operation of the crop-protection business of each of SAG’s
                predecessors

       35.      SCPLLC is the successor in interest to the crop-protection business of each of its

predecessors, Syngenta Crop Protection, Inc. (“SCPI”), Zeneca Ag Products, Inc. (“Zeneca Ag”),




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Zeneca, Inc. (“Zeneca”), ICI Americas, Inc. (“ICIA”), ICI United States, Inc. (“ICI US”), and

ICI America Inc. (“ICI America”) (collectively, “SCPLLC’s predecessors”), in that:

              a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
                 change by, de facto consolidation or merger of, or mere continuation of, its
                 immediate predecessor(s); and/or

              b. SCPLLC has expressly or impliedly agreed to assume any liability on claims
                 arising from the historical operation of the crop‐ protection business of each of
                 SCPLLC’s predecessors.

        36.      At all relevant times, SCPLLC, SCPI, Zeneca Ag, Zeneca, ICIA, ICI US, and/or

ICI America was a wholly-owned U.S. crop-protection subsidiary of SAG or a predecessor of

SAG.

        37.      At all relevant times, PP Limited was a wholly-owned U.K. crop- protection

subsidiary of ICI Limited, an unincorporated division of ICI Limited, or an unincorporated

division of ICI PLC.

        38.      At all relevant times, SAG and its predecessors exercised a degree of control over

their crop-protection subsidiaries so unusually high that these subsidiaries were their agents or

alter egos.

                  2.      Chevron U.S.A., Inc.

        39.      CUSA is the successor in interest to CHEVRON’s crop-protection business, in

that it has expressly assumed any liability on claims arising from the historical operation of that

business.

              B. Defendants’ and their predecessors’ involvement in the U.S. paraquat
                 business

        40.      ICI Limited discovered the herbicidal properties of paraquat in the mid-1950s;

developed herbicide formulations containing paraquat as an active ingredient in the early 1960s;



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and produced the first commercial paraquat formulation, which it registered it in England and

introduced in certain markets under the brand name GRAMOXONE®, in 1962.

       41.     ICI Limited was awarded a U.S. patent on herbicide formulations containing

paraquat as an active ingredient in 1962.

       42.     In May 1964, ICI Limited, PP Limited, and CHEVRON entered into an agreement

for the distribution of paraquat in the U.S. and the licensing of certain paraquat-related patents,

trade secrets, and other intellectual property (“paraquat licensing and distribution agreement”).

       43.     As a result of the May 1964 paraquat licensing and distribution agreement,

paraquat became commercially available for use in the U.S. in or about 1965.

       44.     In April 1975, ICI Limited, ICI US, and CHEVRON entered into a new paraquat

licensing and distribution agreement that superseded the May 1964 agreement.

       45.     In November 1981, ICIA, CHEVRON, and ICI PLC entered into a new paraquat

licensing and distribution agreement, effective January 1982, which superseded in part and

amended in part the April 1975 agreement.

       46.     From approximately May 1964 through approximately September 1986, pursuant

to these paraquat licensing and distribution agreements, ICI and CHEVRON acted in concert in

all aspects of the U.S. paraquat business.

       47.     In September 1986, ICI and CHEVRON entered into an agreement terminating

their paraquat licensing and distribution agreement.

       48.     Under the September 1986 termination agreement, ICI paid CHEVRON for the

early termination of CHEVRON’s rights under their paraquat licensing and distribution

agreement.




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       49.      Although the September 1986 termination agreement gave ICI the right to buy, or

exchange for ICI-labeled paraquat products, CHEVRON-labeled paraquat products that

CHEVRON had already sold to its distributors, CHEVRON-labeled paraquat products continued

to be sold for use in the U.S. after this agreement for some period of time unknown to Plaintiffs.

       50.      SAG, SAG’s predecessors, and subsidiaries of SAG and its predecessors

(collectively, “SYNGENTA”), have at all relevant times manufactured more paraquat used as an

active ingredient in paraquat products formulated and distributed for sale and use in the U.S.,

including Pennsylvania, than all other paraquat manufacturers combined.

       51.      From the mid-1960s through at least 1986, SYNGENTA (as ICI) was the only

manufacturer of paraquat used as an active ingredient in paraquat products formulated and

distributed for sale and use in the U.S., including Pennsylvania.

       52.      From approximately September 1986 through the present, SYNGENTA has:

             a. manufactured paraquat for use as an active ingredient in paraquat products
                formulated and distributed for sale and use in the U.S., including Pennsylvania;

             b. distributed paraquat for use as an active ingredient in paraquat products
                formulated and distributed for sale and use in the U.S., including Pennsylvania;

             c. formulated paraquat products distributed for sale and use in the U.S., including
                Pennsylvania; and

             d. distributed paraquat products for sale and use in the U.S., including Pennsylvania.

             C. The use of paraquat products and Defendants’ knowledge thereof

       53.      Defendants’ paraquat products have been used in the U.S. to kill broadleaf weeds

and grasses before the planting or emergence of more than 100 field, fruit, vegetable, and

plantation crops, to control weeds in orchards, and to desiccate (dry) plants before harvest. At all

relevant times, the use of Defendants’ paraquat products for these purposes was intended or




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directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON.

       54.     Defendants’ paraquat products were commonly used multiple times per year on

the same ground, particularly when used to control weeds in orchards and in farm fields where

multiple crops are planted in the same growing season or year. At all relevant times, the use of

Defendants’ paraquat products in this manner was intended or directed by or reasonably

foreseeable to, and was known to or foreseen by, SYNGENTA and CHEVRON.

       55.     Defendants’ paraquat products were typically sold to end users in the form of

liquid concentrates that were then diluted with water in the tank of a sprayer and applied by

spraying the diluted product onto target weeds. At all relevant times, the use of Defendants’

paraquat products in this manner was intended or directed by or reasonably foreseeable to, and

was known to or foreseen by, SYNGENTA and CHEVRON.

       56.     Defendants’ paraquat products were typically formulated with a surfactant or

surfactants, and/or a surfactant, surfactant product, or “crop oil,” which typically contains one or

more surfactants, was commonly added by users of Defendants’ products, to increase the ability

of paraquat to stay in contact with and penetrate the leaves of target plants and enter plant cells.

At all relevant times, the use of Defendants’ paraquat products as so formulated and/or with such

substances added was intended or directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON.

       57.     Knapsack sprayers, hand-held sprayers, aircraft (i.e., crop dusters), trucks with

attached pressurized tanks, and tractor-drawn pressurized tanks, were commonly used to apply

Defendants’ paraquat products. At all relevant times, the use of such equipment for that purpose




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was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

SYNGENTA and CHEVRON.

             D. Exposure to paraquat and Defendants’ knowledge thereof

       58.      When Defendants’ paraquat products were used in a manner that was intended

and directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who used them and others nearby were commonly exposed to paraquat

while it was being mixed and loaded into the tanks of sprayers, including as a result of spills,

splashes, and leaks. At all relevant times, it was reasonably foreseeable to, and known to or

foreseen by, SYNGENTA and CHEVRON that such exposure commonly would and did occur

and would and did create a substantial risk of harm to the persons exposed.

       59.      When Defendants’ paraquat products were used in a manner that was intended

and directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who sprayed them, and others nearby while they were being sprayed or

when they recently had been sprayed, commonly were exposed to paraquat, including as a result

of spray drift (the movement of herbicide spray droplets from the target area to an area where

herbicide application was not intended, typically by wind), contact with sprayed plants and being

exposed by paraquat that was absorbed into the soil and ground water and wells. At all relevant

times, it was reasonably foreseeable to, and known to or foreseen by, SYNGENTA and

CHEVRON, that such exposure commonly would and did occur and would and did create a

substantial risk of harm to the persons exposed.

       60.      When Defendants’ paraquat products were used in a manner that was intended

and directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who used them and other persons nearby commonly were exposed to



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paraquat, including as a result of spills, splashes, and leaks, while equipment used to spray it was

being emptied or cleaned or clogged spray nozzles, lines, or valves were being cleared. At all

relevant times, it was reasonably foreseeable to, and was known to or foreseen by, SYNGENTA

and CHEVRON that such exposure commonly would and did occur and would and did create a

substantial risk of harm to the persons exposed.

       61.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via absorption through or penetration of the skin,

mucous membranes, and other epithelial tissues, including tissues of the mouth, nose and nasal

passages, trachea, and conducting airways, particularly where cuts, abrasions, rashes, sores, or

other tissue damage was present, and that paraquat that entered the human body in one or more

of these ways would and did create a substantial risk of harm to people so exposed.

       62.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via respiration into the lungs, including the deep

parts of the lungs where respiration (gas exchange) occurs, and that paraquat that entered the

human body in this way would and did create a substantial risk of harm to people so exposed.

       63.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used



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in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via ingestion into the digestive tract of small

droplets swallowed after entering the mouth, nose, or conducting airways, and that paraquat that

entered the human body in this way would and did create a substantial risk of harm to people so

exposed.

       64.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the human body via ingestion into the digestive tract could and did enter

the enteric nervous system (the part of the nervous system that governs the function of the

gastrointestinal tract), and that paraquat that entered the enteric nervous system would and did

create a substantial risk of harm to people so exposed.

       65.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the human body, whether via absorption, respiration, or ingestion, could

and did enter the bloodstream, and that paraquat that entered the bloodstream would and did

create a substantial risk of harm to people so exposed.

       66.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used



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in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the bloodstream could and did enter the brain, whether through the blood-

brain barrier or parts of the brain not protected by the blood-brain barrier, and that paraquat that

entered the brain would and did create a substantial risk of harm to people so exposed.

       67.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the nose and nasal passages could and did enter the brain through the

olfactory bulb (a part of the brain involved in the sense of smell), which is not protected by the

blood-brain barrier, and that paraquat that entered the olfactory bulb would and did create a

substantial risk of harm to people so exposed.

       68.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used

in a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat products that

contained surfactants or had surfactants added to them, the surfactants would and did increase

the toxicity of paraquat toxicity to humans by increasing its ability to stay in contact with or

penetrate cells and cellular structures, including but not limited to the skin, mucous membranes,

and other epithelial and endothelial tissues, including tissues of the mouth, nose and nasal

passages, trachea, conducting airways, lungs, gastrointestinal tract, blood-brain barrier, and




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neurons, and that this would and did increase the already substantial risk of harm to people so

exposed.

             E. Parkinson’s disease

       69.      Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

affects primarily the motor system, the part of the central nervous system thatcontrols movement.

       70.      The characteristic symptoms of Parkinson’s disease are its “primary” motor

symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia

(slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

movement), and postural instability (impaired balance).

       71.      Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       72.      Non-motor symptoms—such as loss of or altered sense of smell; constipation;

low blood pressure on rising to stand; sleep disturbances; and depression—are present in most

cases of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

       73.      There is currently no cure for Parkinson’s disease; no treatment will stop or

reverse its progression, and the treatments most commonly prescribed for its motor symptoms

tend to become progressively less effective, and to cause unwelcome side effects, the longer they

are used.

       74.      The selective degeneration and death of dopaminergic neurons (dopamine-

producing nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) is

one of the primary pathophysiological hallmarks of Parkinson’s disease.



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       75.      Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       76.      The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

       77.      Once dopaminergic neurons die, they are not replaced; when enough

dopaminergic neurons have died, dopamine production falls below the level the brain requires

for proper control of motor function, resulting in the motor symptoms of Parkinson’s disease.

       78.      The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

       79.      Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

       80.      Scientists who study Parkinson’s disease generally agree that oxidative stress is a

major factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic

neurons that are the primary pathophysiological hallmarks of Parkinson’s disease.

             F. Paraquat’s toxicity

       81.      Paraquat is highly toxic to both plants and animals because it causes and

contributes to cause the degeneration and death of living cells in both plants and animals.

       82.      Paraquat causes and contributes to cause the degeneration and death of plant and

animal cells both directly, through oxidation, and indirectly, through oxidative stress created or



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aggravated by the “redox cycling” of paraquat; these processes damage lipids, proteins, and

nucleic acids, molecules that are essential components of the structures and functions of living

cells, and interfere with cellular functions—in plant cells, with photosynthesis, and in animal

cells, with cellular respiration—that are essential to cellular health.

       83.     In both plant and animal cells, paraquat undergoes redox cycling that creates or

aggravates oxidative stress because of the “redox properties” inherent in paraquat’s chemical

composition and structure: paraquat is both a strong oxidant and has a high propensity to

undergo redox cycling, and to do so repeatedly, in the presence of a suitable reductant and

molecular oxygen, both of which are present in all living cells.

       84.     The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can and often does initiate a

cascading series of chemical reactions that can and often do create other reactive oxygen species

that damage lipids, proteins, and nucleic acids, molecules that are essential components of the

structures and functions of living cells.

       85.     Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of

countless molecules of destructive superoxide radical. After even a tiny amount of paraquat

enters the human brain, paraquat molecules continue to undergo redox cycling and continue to

cause damage to human brain cells. This repeated cycling continues in the presence of oxygen

and continues to cause the death of dopaminergic neurons, eventually resulting in the onset of

Parkinson’s disease. However, even after the onset of Parkinson’s disease, the redox cycling

continues to cause brain cell damage and death for as long as the victim lives.




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       86.        The oxidation and redox potentials of paraquat have been known to science since

at least the 1930s, and in the exercise of ordinary care should have been known, and were

known, to SYNGENTA and CHEVRON at all relevant times.

       87.        That paraquat is highly toxic to all living cells—both plant cells and all types of

animal cells—has been known to science since at least the mid-1960s, and in the exercise of

ordinary care should have been known, and was known, to SYNGENTA and CHEVRON at all

relevant times.

       88.        The high toxicity of paraquat to living cells of all types creates a substantial risk

of harm to persons exposed to paraquat, which SYNGENTA and CHEVRON should have

known in the exercise of ordinary care, and did know, at all relevant times.

       89.        The same oxidation and redox potentials that make paraquat highly toxic to plant

cells and other types of animal cells make paraquat highly toxic to nerve cells, including

dopaminergic neurons, and create a substantial risk of neurotoxic harm to persons exposed to

paraquat. SYNGENTA and CHEVRON should have known this in the exercise of ordinary care,

and did know this, at all relevant times.

             G. Paraquat and Parkinson’s disease

       90.        The scientific community overwhelmingly agrees that paraquat causes

Parkinson’s disease.

       91.        Although Parkinson’s disease is not known to occur naturally in any species other

than humans, Parkinson’s disease research is often performed using “animal models,” in which

scientists artificially produce in laboratory animals conditions that show features characteristic of

Parkinson’s disease in humans.




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       92.      Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease.

       93.      In animal models of Parkinson’s disease, hundreds of studies involving various

routes of exposure have found that paraquat causes the degeneration and death of dopaminergic

neurons in the SNpc, other pathophysiology consistent with that seen in human Parkinson’s

disease, and motor deficits and behavioral changes consistent with those commonly seen in

human Parkinson’s disease.

       94.      Hundreds of in vitro studies (experiments in a test tube, culture dish, or other

controlled experimental environment) have found that paraquat causes the degeneration and

death of dopaminergic neurons.

       95.      Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and Parkinson’s

disease, including multiple studies finding a two- to five-fold or greater increase in the risk of

Parkinson’s disease in populations with occupational exposure to paraquat compared to

populations without such exposure.

             H. Paraquat regulation

       96.      The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

that pesticides be registered with the EPA prior to their distribution, sale, or use, except as

described by FIFRA. 7 U.S.C. 136a(a).

       97.      As part of the pesticide registration process, the EPA requires, among other

things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people

and other potential non-target organisms, and other adverse effectson the environment.



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       98.       As a general rule, FIFRA requires registrants—not the EPA—to perform health

and safety testing of pesticides, and the EPA generally does not perform such testing.

       99.       The EPA registers (or re-registers) a pesticide if it believes, based largely on

studies and data submitted by the registrant, that:

              a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
                 136a(c)(5)(A);

              b. its labeling and other material required to be submitted comply with the
                 requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B);

              c. it will perform its intended function without unreasonable adverse effects on the
                 environment, 7 U.S.C. § 136a(c)(5)(C); and

              d. when used in accordance with widespread and commonly recognized practice it
                 will not generally cause unreasonable adverse effects on the environment, 7
                 U.S.C. § 136a(c)(5)(D).

       100.      FIFRA defines “unreasonable adverse effects on the environment” as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

       101.      Under FIFRA, “As long as no cancellation proceedings are in effect registration

of a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply

with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

       102.      However, FIFRA further provides that “In no event shall registration of an article

be construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C. §

136a(f)(2).

       103.      FIFRA further provides that “…it shall be unlawful for any person in any State to

distribute or sell to any person… any pesticide which is… misbranded.” 7 U.S.C. §

136j(a)(1)(E).

       104.      A pesticide is misbranded under FIFRA if, among other things:


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             a. its labeling bears any statement, design, or graphic representation relative thereto
                or to its ingredients which is false or misleading in any particular, 7 U.S.C. §
                136(q)(1)(A);

             b. the labeling accompanying it does not contain directions for use which are
                necessary for effecting the purpose for which the product is intended and if
                complied with, together with any requirements imposed under section 136a(d) of
                this title, are adequate to protect health and the environment, 7 U.S.C. §
                136(q)(1)(F); or
             c. the label does not contain a warning or caution statement which may be necessary
                and if complied with, together with any requirements imposed under section
                136a(d) of this title, is adequate to protect health and the environment,” 7 U.S.C.
                § 136(q)(1)(G).

         105.     Plaintiffs do not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA; accordingly,

any allegation in this complaint that a Defendant breached a duty to provide adequate directions

for the use of paraquat or warnings about paraquat, breached a duty to provide adequate

packaging for paraquat, or concealed, suppressed, or omitted to disclose any material fact about

paraquat or engaged in any unfair or deceptive practice regarding paraquat, is intended and

should be construed to be consistent with that alleged breach, concealment, suppression, or

omission, or unfair or deceptive practice, having rendered the paraquat “misbranded” under

FIFRA.

         106.     Plaintiffs bring claims and seek relief in this action only under state law. Plaintiffs

do not bring any claims or seek any relief in this action under FIFRA.

VII.     Allegations Common To Specific Causes Of Action5

             A. Strict product liability – design defect


5
  When used in an allegation in section VII or VIII of this Complaint, where the name of the party is not specified:
(1) “Defendant” refers to the Defendant or Defendants from whom relief is sought in the Count in which the
allegation appears or is incorporated and/or the predecessors of that Defendant or those Defendants; and (2)
“Plaintiff” refers: (a) to the Plaintiff seeking relief in the Count in which the allegation appears or is incorporated,
where the Count seeks damages for personal injuries; or (b) to the spouse of the Plaintiff seeking relief in the Count
in which the allegation appears or is incorporated, where the Count seeks damages for loss of society or consortium.

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         107.     At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the business of designing, manufacturing and selling paraquat within the U.S.

         108.     At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products6 would be sold and used in the State

of Michigan.

         109.     Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Michigan.

         110.     Upon information and belief, for many years, Plaintiff used Defendants’ paraquat

products in Michigan repeatedly and regularly for hours at a time, resulting in the repeated,

regular, and prolonged exposure of Plaintiff to paraquat.

         111.     Defendants, by and through their agents, servants, workers, contractors, designers,

manufacturers, sellers, suppliers, and/or distributors, are strictly liable under § 402A of the

Restatement (Second) of Torts because:

             a. Defendants are engaged in the business of designing, manufacturing, assembling,
                distributing, selling and/or supplying their paraquat products;

             b. Defendants’ paraquat products which caused Plaintiffs’ damages was created,
                designed, marketed, and placed in the general stream of commerce by
                Defendants;

             c. Defendants’ paraquat products were expected to and did reach users without
                substantial change in the condition in which it was designed, manufactured,
                distributed and/or sold; and


6
  When used in an allegation in section VII or VIII of this Complaint, “Defendants’ paraquat products”: (1) refers to
ICI-CHEVRON paraquat products and/or ICI-SYNGENTA paraquat products when the allegation appears or is
incorporated in a Count directed to SCPLLC and SAG; refers only to ICI-CHEVRON paraquat products when the
allegation appears or is incorporated in a Count directed to CUSA.



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            d. Defendants’ paraquat products were designed, manufactured, distributed and/or
               sold in the defective condition for the reasons set forth below.

        112.    At all relevant times, Defendants’ paraquat products were in a defective condition

that made them unreasonably dangerous when used in a manner that was intended or directed by

or reasonably foreseeable to, and was known to or foreseen by, Defendants and those with whom

it was acting in concert, in that:

            a. they were designed, manufactured, formulated, and packaged such that when so
               used, paraquat was likely to be inhaled, ingested, and absorbed into the bodies of
               persons who used them, were nearby while they were being used, or entered fields
               or orchards where they had been sprayed or areas near where they had been
               sprayed; and

            b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
               were nearby while they were being used, or entered fields or orchards where they
               had been sprayed or areas near where they had been sprayed, paraquat was likely
               to cause or contribute to cause latent, permanent, and cumulative neurological
               damage, and repeated exposures were likely to cause or contribute to cause
               clinically significant neurodegenerative disease, including Parkinson’s disease, to
               develop over time and manifest long after exposure;

        113.    Defendants, by and through their agents, servants, workers, contractors, designers,

manufacturers, sellers, suppliers, and/or distributors, are strictly liable under § 402A of the

Restatement (Second) of Torts, by:

            a. Designing, assembling, manufacturing, selling, supplying and/or distributing a
               product in a defective condition;

            b. Designing, assembling, manufacturing, selling, supplying and/or distributing a
               product which caused Parkinson’s disease;

            c. Designing, assembling, manufacturing, selling, supplying and/or distributing a
               product that was known to be unfit for the purpose for which Defendants supplied
               the product;

            d. Designing, assembling, manufacturing, selling, supplying and/or distributing a
               product that was unreasonably dangerous to its intended and foreseeable users;

            e. Designing, assembling, manufacturing, selling, supplying and/or distributing a
               product that was not safe for all of its intended and represented purposes;

            f. Designing, assembling, manufacturing, selling, supplying and/or distributing a
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               product which lacked all the necessary safety features to protect users of
               Defendants’ paraquat products, including Plaintiffs;

           g. Despite having actual knowledge of the harm caused by Defendants’ paraquat
              products, failing to adequately warn users that Defendants’ paraquat products
              caused the harm complained of herein;

           h. Despite having actual knowledge of the harm caused by Defendants’ paraquat
              products, failing to make all the necessary corrections to eliminate the risk of
              Parkinson’s disease;

           i. Failing to recall the defective and dangerous paraquat products after the dangers
              and risks were known or discovered;

           j. Designing, assembling, manufacturing, selling, supplying and/or distributing a
              product for which the risks and hazards of far outweighed any utility or benefit of
              the product (i.e., in violation of the risk-utility test); and

           k. Designing, assembling, manufacturing, selling, supplying and/or distributing a
              product the risks of which were unknown or unknowable to the consumer (i.e., in
              violation of the consumer expectations test).


       114.    At all relevant times, this defective condition in Defendants’ paraquat products

existed when they left the control of Defendant and those with whom it was acting in concert and

were placed into the stream of commerce.

       115.    At all relevant times, Defendant and those with whom it was acting in concert

knew or foresaw that this defective condition of Defendants’ paraquat products would create a

substantial risk of harm to persons who used them, were nearby while they were being used, or

entered fields or orchards where they had been sprayed or areas near where they had been

sprayed, but in conscious disregard for the safety of others, including Plaintiff, continued to

place them into the stream of commerce.

       116.    As a result of this defective condition, Defendants’ paraquat products either failed

to perform in the manner reasonably to be expected in light of their nature and intended function,

or the magnitude of the dangers outweighed their utility.


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       117.    At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendant and those with whom it was acting in concert.

       118.    At all relevant times, Defendants’ concealed the defective condition of their

product from Plaintiffs thus preventing Plaintiff from discovering the causal link between their

injury and paraquat.

           B. Strict product liability – failure to warn

       119.    At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the U.S. paraquat business.

       120.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the

Commonwealth of Pennsylvania.

       121.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products for

sale and use in the U.S., including Michigan.

       122.    For many years, Plaintiff used Defendants’ paraquat products in Michigan

repeatedly and regularly for hours at a time, resulting in the repeated, regular, and prolonged

exposure of Plaintiff to paraquat.

       123.    At all relevant times, Defendants and those with whom it was acting in concert

should have known in the exercise of ordinary care, and did know, that when used in a manner

that was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom it was acting in concert:



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            a. Defendants’ paraquat products were designed, manufactured, formulated, and
               packaged such that when so used, paraquat was likely to be inhaled, ingested, and
               absorbed into the bodies of persons who used them, were nearby while they were
               being used, or entered fields or orchards where they had been sprayed or areas
               near where they had been sprayed; and

            b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
               were nearby while they were being used, or entered fields or orchards where they
               had been sprayed or areas near where they had been sprayed, paraquat was likely
               to cause or contribute to cause latent, cumulative, and permanent neurological
               damage, and repeated exposures were likely to cause or contribute to cause
               clinically significant neurodegenerative disease, including Parkinson’s disease, to
               develop over time and manifest long after exposure.

        124.    At all relevant times, Defendants’ paraquat products were in a defective condition

that made them unreasonably dangerous when used in a manner that was intended or directed by

or reasonably foreseeable to, and was known to or foreseen by, Defendant and those with whom

it was acting in concert, in that:

            a. they were not accompanied by directions for use that would have made paraquat
               unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used
               them, were nearby while they were being used, or entered fields or orchards
               where they had been sprayed or areas near where they had been sprayed; and

            b. they were not accompanied by a warning that when inhaled, ingested, or absorbed
               into the bodies of persons who used them, were nearby while they were being
               used, or entered fields or orchards where they had been sprayed or areas near
               where they had been sprayed, paraquat was likely to cause or contribute to cause
               latent, cumulative, and permanent neurological damage, and that repeated
               exposures were likely to cause or contribute to cause clinically significant
               neurodegenerative disease, including Parkinson’s disease, to develop over time
               and manifest long after exposure.

        125.    At all relevant times, this defective condition in Defendants’ paraquat products

existed when they left the control of Defendant and those with whom it was acting in concert and

were placed into the stream of commerce.

        126.    At all relevant times, Defendant and those with whom it was acting in concert

knew this defective condition of Defendants’ paraquat products created a substantial risk of harm



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to persons who used them, were nearby while they were being used, or entered fields or orchards

where they had been sprayed or areas near where they had been sprayed, but in conscious

disregard for the safety of others, including Plaintiff, continued to place them into the stream of

commerce.

       127.    As a result of this defective condition, Defendants’ paraquat products either failed

to perform in the manner reasonably to be expected in light of their nature and intended function,

or the magnitude of the dangers outweighed their utility.

       128.    At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendant and those with whom it was acting in concert.

       129.    At all relevant times, Defendants’ concealed the defective condition of their

product from Plaintiffs thus preventing Plaintiff from discovering the causal link between their

injury and paraquat.

            C. Negligence

       130.    At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the U.S. paraquat business.

       131.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the State of

Michigan.

       132.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Pennsylvania.



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       133.    Upon information and belief, for many years, Plaintiff used Defendants’ paraquat

products in Michigan repeatedly and regularly for hours at a time, resulting in the repeated,

regular, and prolonged exposure of Plaintiff to paraquat.

       134.    At all relevant times, in designing, manufacturing, and distributing paraquat for

use in formulating paraquat products and in designing, formulating, packaging, labeling, and

distributing paraquat products, Defendant and those with whom it was acting in concert owed a

duty to exercise ordinary care for the health and safety of persons, including Plaintiff, whom it

was reasonably foreseeable could be exposed to paraquat in such products.

       135.    When Defendant and those with whom it was acting in concert designed,

manufactured, and distributed paraquat for use in formulating Defendants’ paraquat products and

designed, formulated, packaged, labeled, and distributed Defendants’ paraquat products, it was

reasonably foreseeable and in the exercise of ordinary care Defendant should have known, and

Defendants did know, that when Defendants’ paraquat products were used in a manner that was

intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom it was acting in concert:

           a. they were designed, manufactured, formulated, and packaged such that paraquat
              was likely to be inhaled, ingested, and absorbed into the bodies of persons who
              used them, were nearby while they were being used, or entered fields or orchards
              where they had been sprayed or areas near where they had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure.

       136.    In breach of their duty to Plaintiff, Defendants and those with whom it was acting

in concert negligently, and in conscious disregard for the safety of others:

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       a. failed to design, manufacture, formulate, and package Defendants’ paraquat
          products to make paraquat unlikely to be inhaled, ingested, and absorbed into the
          bodies of persons who used them, were nearby while they were being used, or
          entered fields or orchards where they had been sprayed or areas near where they
          had been sprayed;

       b. designed and manufactured paraquat and designed and formulated Defendants’
          paraquat products such that when inhaled, ingested, or absorbed into the bodies of
          persons who used Defendants’ paraquat products, were nearby while they were
          being used, or entered fields or orchards where they had been sprayed or areas
          near where they had been sprayed, paraquat was likely to cause or contribute to
          cause latent, cumulative, and permanent neurological damage, and repeated
          exposures were likely to cause or contribute to cause clinically significant
          neurodegenerative disease, including Parkinson’s disease, to develop over time
          and manifest long after exposure;

       c. failed to perform adequate testing to determine the extent to which exposure to
          paraquat was likely to occur through inhalation, ingestion, and absorption into the
          bodies of persons who used Defendants’ paraquat products, were nearby while
          they were being used, or entered fields or orchards where they had been sprayed
          or areas near where they had been sprayed;

       d. failed to perform adequate testing to determine the extent to which spray drift
          from Defendants’ paraquat products was likely to occur, including their
          propensity to drift, the distance they were likely to drift, and the extent to which
          paraquat spray droplets were likely to enter the bodies of persons spraying
          Defendants’ paraquat products or nearby during or after spraying;

       e. failed to perform adequate testing to determine the extent to which paraquat, when
          inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
          paraquat products, were nearby while they were being used, or entered fields or
          orchards where they had been sprayed or areas near where they had been sprayed,
          was likely to cause or contribute to cause latent, cumulative, and permanent
          neurological damage, and the extent to which repeated exposures were likely to
          cause or contribute to cause clinically significant neurodegenerative disease,
          including Parkinson’s disease, to develop over time and manifest long after
          exposure;

       f. failed to perform adequate testing to determine the extent to which paraquat,
          when formulated or mixed with surfactants or other pesticides or used along with
          other pesticides, and inhaled, ingested, or absorbed into the bodies of persons who
          used Defendants’ paraquat products, were nearby while they were being used, or
          entered fields or orchards where they had been sprayed or areas near where they
          had been sprayed, was likely to cause or contribute to cause latent, cumulative,
          and permanent neurological damage, and the extent to which repeated exposures
          were likely to cause or contribute to cause clinically significant neurodegenerative

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               disease, including Parkinson’s disease, to develop over time and manifest long
               after exposure;

            g. failed to direct that Defendants’ paraquat products be used in a manner that would
               have made it unlikely for paraquat to have been inhaled, ingested, and absorbed
               into the bodies of persons who used them, were nearby while they were being
               used, or entered fields or orchards where they had been sprayed or areas near
               where they had been sprayed; and

            h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons
               who used Defendants’ paraquat products, were nearby while they were being
               used, or entered fields or orchards where they had been sprayed or areas near
               where they had been sprayed, paraquat was likely to cause or contribute to cause
               latent, cumulative, and permanent neurological damage, and repeated exposures
               were likely to cause or contribute to cause clinically significant neurodegenerative
               disease, including Parkinson’s disease, to develop over time and manifest long
               after exposure.

       137.    At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendant and those with whom it was acting in concert.

       138.    At all relevant times, Defendants’ concealed the dangers of their product as listed

above from Plaintiffs thus preventing Plaintiff from discovering the causal link between their

injury and paraquat.

            D. Public nuisance

       139.    At all relevant times, Defendants and those with whom it was acting in      concert

were engaged in the U.S. paraquat business.

       140.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the State of

Michigan.

       141.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat



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products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Michigan.

       142.    Upon information and belief, for many years, Plaintiff used Defendants’ paraquat

products in Michigan repeatedly and regularly for hours at a time, resulting in the repeated,

regular, and prolonged exposure of Plaintiff to paraquat.

       143.    At all relevant times, Defendants and those with whom they were acting in

concert owed a duty to the public, including Plaintiff and other persons whom they could

reasonably foresee were likely to use Defendants’ paraquat products or otherwise be in or near

places where they were being or recently had been used within the State of Michigan, to provide

and maintain a healthful environment and uphold the public’s and Plaintiffs’ right to a healthful

environment in connection with the design, manufacture, and distribution of paraquat for use in

formulating Defendants’ paraquat products, and the design, formulation and distribution of

Defendants’ paraquat products, that Defendants intended and expected to be used in the State of

Michigan.

       144.    When Defendants and those with whom they were acting in concert designed,

manufactured, and distributed paraquat for use in formulating Defendants’ paraquat products and

designed, formulated, packaged, labeled, and distributed Defendants’ paraquat products, it was

reasonably foreseeable and in the exercise of ordinary care Defendant should have known, and

Defendant did know, that when Defendants’ paraquat products were used in a manner that was

intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendant and those with whom it was acting in concert:

            a. they were designed, manufactured, formulated, and packaged such that paraquat
               was likely to be inhaled, ingested, and absorbed into the bodies of persons who
               used them, were nearby while they were being used, or entered fields or orchards
               where they had been sprayed or areas near where they had been sprayed; and

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           b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure.

       145.    In breach of their duty to members of the public, including Plaintiff, Defendant

and those with whom it was acting in concert negligently, and in conscious disregard for the

safety of others:

           a. failed to design, manufacture, formulate, and package Defendants’ paraquat
              products to make paraquat unlikely to be inhaled, ingested, and absorbed into the
              bodies of persons who used them, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed;

           b. designed and manufactured paraquat and designed and formulated Defendants’
              paraquat products such that when inhaled, ingested, or absorbed into the bodies of
              persons who used Defendants’ paraquat products, were nearby while they were
              being used, or entered fields or orchards where they had been sprayed or areas
              near where they had been sprayed, paraquat was likely to cause or contribute to
              cause latent, cumulative, and permanent neurological damage, and repeated
              exposures were likely to cause or contribute to cause clinically significant
              neurodegenerative disease, including Parkinson’s disease, to develop over time
              and manifest long after exposure;

           c. failed to perform adequate testing to determine the extent to which exposure to
              paraquat was likely to occur through inhalation, ingestion, and absorption into the
              bodies of persons who used Defendants’ paraquat products, were nearby while
              they were being used, or entered fields or orchards where they had been sprayed
              or areas near where they had been sprayed;

           d. failed to perform adequate testing to determine the extent to which spray drift
              from Defendants’ paraquat products was likely to occur, including their
              propensity to drift, the distance they were likely to drift, and the extent to which
              paraquat spray droplets were likely to enter the bodies of persons spraying
              Defendants’ paraquat products or nearby during or after spraying;

           e. failed to perform adequate testing to determine the extent to which paraquat,
              when inhaled, ingested, or absorbed into the bodies of persons who used
              Defendants’ paraquat products, were nearby while they were being used, or

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              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed, was likely to cause or contribute to cause latent, cumulative,
              and permanent neurological damage, and the extent to which repeated exposures
              were likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long
              after exposure;

          f. failed to perform adequate testing to determine the extent to which paraquat,
             when formulated or mixed with surfactants or other pesticides or used along with
             other pesticides, and inhaled, ingested, or absorbed into the bodies of persons who
             used Defendants’ paraquat products, were nearby while they were being used, or
             entered fields or orchards where they had been sprayed or areas near where they
             had been sprayed, was likely to cause or contribute to cause latent, cumulative,
             and permanent neurological damage, and the extent to which repeated exposures
             were likely to cause or contribute to cause clinically significant neurodegenerative
             disease, including Parkinson’s disease, to develop over time and manifest long
             after exposure;

          g. failed to direct that Defendants’ paraquat products be used in a manner that would
             have made it unlikely for paraquat to have been inhaled, ingested, and absorbed
             into the bodies of persons who used them, were nearby while they were being
             used, or entered fields or orchards where they had been sprayed or areas near
             where they had been sprayed; and

          h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons
             who used Defendants’ paraquat products, were nearby while they were being
             used, or entered fields or orchards where they had been sprayed or areas near
             where they had been sprayed, paraquat was likely to cause or contribute to cause
             latent, cumulative, and permanent neurological damage, and repeated exposures
             were likely to cause or contribute to cause clinically significant neurodegenerative
             disease, including Parkinson’s disease, to develop over time and manifest long
             after exposure.

       146.   At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to and foreseen by,

Defendant and those with whom it was acting in concert.

          E. Michigan Unfair and Prohibited Trade Practices and Frauds Act a/k/a
             “Michigan Consumer Protection Act” M.C.L.A. § 445.901, et seq.

       147.   At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the U.S. paraquat business.



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       148.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the State of

Michigan.

       149.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Michigan.

       150.    Plaintiff, a member of Plaintiff’s family, or Plaintiff’s employer purchased

Defendants’ paraquat products in Michigan for the purpose of controlling weeds and not for

resale, and for many years, Plaintiff used these products in Michigan repeatedly and regularly for

hours at a time, resulting in the repeated, regular, and prolonged exposure of Plaintiff to

paraquat.

       151.    At all relevant times, Plaintiff, Defendant, and others with whom Defendant acted

in concert, were persons within the meaning of M.C.L.A. § 445.902.

       152.    At all relevant times, Plaintiff was a consumer within the meaning of M.C.L.A. §

495.902.

       153.    The Michigan Uniform Trade Practices Act, M.C.L.A. § 495.903, defines the

numerous unfair, unconscionable, or deceptive methods, acts, or practices engaged in by

Defendants here.

       154.    At all relevant times, Defendant and those with whom it was acting in concert had

both constructive and actual knowledge that when Defendants’ paraquat products were used in a

manner that was intended or directed by or reasonably foreseeable to, and was known to or

foreseen by, Defendant and those with whom it was acting in concert:



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           a. they were designed, manufactured, formulated, and packaged such that paraquat
              was likely to be inhaled, ingested, and absorbed into the bodies of persons who
              used them, were nearby while they were being used, or entered fields or orchards
              where they had been sprayed or areas near where they had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure.

       155.   At all relevant times, Defendant and those with whom it was acting in concert had

both constructive and actual knowledge that:

           a. adequate testing had not been performed to determine the extent to which
              exposure to paraquat was likely to occur through inhalation, ingestion, and
              absorption into the bodies of persons who used Defendants’ paraquat products,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where there had been sprayed;

           b. adequate testing had not been performed to determine the extent to which spray
              drift was likely to occur when Defendants’ paraquat products were used,
              including their propensity to drift, the distance they were likely to drift, and the
              extent to which paraquat spray droplets were likely to enter the bodies of persons
              spraying or others nearby during or after spraying;

           c. adequate testing had not been performed to determine the extent to which
              paraquat, when inhaled, ingested, or absorbed into the bodies of persons who used
              Defendants’ paraquat products, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed, were likely to cause or contribute to cause latent, cumulative,
              and permanent neurological damage, and the extent to which repeated exposures
              were likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long
              after exposure; and

           d. adequate testing had not been performed to determine the extent to which
              paraquat, when formulated or mixed with surfactants or other pesticides or used
              along with other pesticides, and inhaled, ingested, or absorbed into the bodies of
              persons who used Defendants’ paraquat products, were nearby while they were
              being used, or entered fields or orchards where they had been sprayed or areas
              near where there had been sprayed, was likely to cause or contribute to cause
              latent, cumulative, and permanent neurological damage, and the extent to which

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               repeated exposures were likely to cause or contribute to cause clinically
               significant neurodegenerative disease, including Parkinson’s disease, to develop
               over time and manifest long after exposure.

       156.    From the first date on which Defendant and those with whom it was acting in

concert placed Defendants’ paraquat products into the stream of commerce for use in the State of

Michigan through the last date on which Plaintiff was exposed to Defendants’ paraquat products,

Defendant and those with whom it was acting in concert engaged in unfair or deceptive acts or

practices, in violation of the Michigan Consumer Protection Act, including but not limited to

deception, fraud, false pretense, false promise, misrepresentation or the concealment,

suppression, or omission of material facts, in designing, manufacturing, and distributing paraquat

for use in formulating Defendants’ paraquat products for distribution for sale and use in the State

of Michigan and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the State of Michigan, in that they:

           a. concealed, suppressed, or omitted to disclose that Defendants’ paraquat products
              were designed, manufactured, formulated, and packaged such that paraquat was
              likely to be inhaled, ingested, and absorbed into the bodies of persons who used
              them, were nearby while they were being used, or entered fields or orchards
              where they had been sprayed or areas near where theyhad been sprayed;

           b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or
              absorbed into the bodies of persons who used Defendants’ paraquat products, were
              nearby while they were was being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure;

           c. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which exposure to paraquat was likely to
              occur through inhalation, ingestion, and absorption into the bodies of persons who
              used Defendants’ paraquat products, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed;



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           d. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which spray drift was likely to occur when
              Defendants’ paraquat products were used, including their propensity to drift, the
              distance they were likely to drift, and the extent to which paraquat spray droplets
              were likely to enter the bodies of persons spraying or others nearby during or after
              spraying;

           e. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat, when inhaled, ingested, or
              absorbed into the bodies of persons who used Defendants’ paraquat products,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, was likely to cause
              or contribute to cause latent, cumulative, and permanent neurological damage,
              and the extent to which repeated exposures were likely to cause or contribute to
              cause clinically significant neurodegenerative disease, including Parkinson’s
              disease, to develop over time and manifest long after exposure; and

           f. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat, when formulated or mixed
              with surfactants or other pesticides or used along with other pesticides, and
              inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
              paraquat products, were nearby while they were being used, or entered fields or
              orchards where they had been sprayed or areas near where they had been sprayed,
              was likely to cause or contribute to cause latent, cumulative, and permanent
              neurological damage, and the extent to which repeated exposures were likely to
              cause or contribute to cause clinically significant neurodegenerative disease,
              including Parkinson’s disease, to develop over time and manifest long after
              exposure.

       157.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in

designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan were unfair because they offended public policy, were immoral, unethical,

oppressive, and unscrupulous, and caused substantial injury to consumers.

       158.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in

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designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan offended the clearly stated public policy of the State of Michigan.

       159.    These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in

designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan offended the clearly stated public policyof the as expressed in the Michigan.

       160.    These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in

designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan were immoral and unethical, as they served only to benefit Defendant and

those with whom it was acting in concert at the expense of the heath of purchasers and users of

Defendants’ paraquat products and the public.

       161.    These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in

designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan were likely to cause substantial injury to purchasers and users of paraquat and

the public by exposing them to unnecessary risks to their health.

       162.    These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the State of Michigan and in



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designing, formulating, and distributing Defendants’ paraquat products for sale and use in the

State of Michigan were likely to cause, and did cause, substantial injury to purchasers and users

of paraquat and the public in that but for these acts and practices, Defendants’ paraquat products

would not have been purchased for use in Michigan and persons who used them, were nearby

while they was being used, or entered fields or orchards where they had been sprayed or areas

near where it they been sprayed, would not have been injured by exposure to paraquat.

        163.   Defendant and those with whom it was acting in concert in designing,

manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat products

for distribution for sale and use in the State of Michigan and in designing, formulating, and

distributing Defendants’ paraquat products for sale and use in the State of Michigan committed

these acts and engaged in these practices in conscious disregard of the safety of others, including

Plaintiff.

        164.   The injuries caused by these acts and practices of Defendant and those with whom

it was acting in concert in designing, manufacturing, and distributing paraquat for use in

formulating Defendants’ paraquat products for distribution for sale and use in the State of

Michigan and in designing, formulating, and distributing Defendants’ paraquat products for sale

and use in the State of Michigan—namely, purchasers’ monetary losses and the injuries and

damages (including monetary losses) to persons who used them, were nearby while they were

being used, or entered fields or orchards where they had been sprayed or areas near where they

had been sprayed, including Plaintiff—are not outweighed by any countervailing benefit to

consumers or competition.

        165.   The injuries caused by these acts and practices of Defendant and those with whom

it was acting in concert in designing, manufacturing, and distributing paraquat for use in



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formulating Defendants’ paraquat products for distribution for sale and use in the State of

Michigan and in designing, formulating, and distributing Defendants’ paraquat products for sale

and use in the State of Michigan—namely, purchasers’ monetary losses and the injuries and

damages (including monetary losses) to persons who used them, were nearby while they were

being used, or entered fields or orchards where they had been sprayed or areas near where they

had been sprayed, including Plaintiff—were not reasonably avoidable; because Defendant and

those with whom it was acting in concert had and failed to disclose material non-public

information, consumers had no reason to anticipate the impending harm and thus avoid their

injuries.

        166.   Defendant and those with whom it was acting in concert intended that purchasers

of Defendants’ paraquat products, including Plaintiff, purchase them in reliance on these unfair

and deceptive acts and practices.

        167.   The facts that Defendant and those with whom it was acting in concert concealed,

suppressed, or omitted to disclose were material to the decisions to purchase Defendants’

paraquat products, and would not have been purchased had these facts been disclosed.

        168.   These unfair and deceptive acts and practices of Defendant and those with whom

it was acting in concert occurred in connection with their conduct of trade and commerce in the

State of Michigan.

        169.   These unfair and deceptive acts and practices of Defendant and those with whom

it was acting in concert violated the Michigan Consumer Protection Act, M.C.L.A. § 495.901, et

seq.




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       170.    Defendant and those with whom it was acting in concert committed these unfair

and deceptive practices knowing they created a substantial risk of harm to Plaintiff and others

who purchased and used Defendants’ paraquat products in Michigan.

           F. Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S.
              §§ 201-1-201-9.2
       171.    At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the U.S. paraquat business.

       172.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the

Commonwealth of Pennsylvania.

       173.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Pennsylvania.

       174.    At all relevant times, Plaintiff, Defendant, and others with whom Defendant acted

in concert, were persons within the meaning of 73 P.S. § 201-2(2).

       175.    The Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”) at § 201-9.2(a) provides that “[a]ny person who purchases or leases goods or

services primarily for personal, family or household purposes and thereby suffers any

ascertainable loss of money or property, real and personal, as a result of the use or employment

by any person of a method, act or practice declared unlawful by section 3 [(73 P.S. §201-3)] of

this act, may bring a private action to recover actual damages[.]” 73 P.S. § 201-9.2(a).

       176.    The UTPCPL makes unlawful “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” 73 P.S. § 201-3.


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       177.   At all relevant times, Defendant and those with whom it was acting in concert had

both constructive and actual knowledge that when Defendants’ paraquat products were used in a

manner that was intended or directed by or reasonably foreseeable to, and was known to or

foreseen by, Defendant and those with whom it was acting in concert:

           a. they were designed, manufactured, formulated, and packaged such that paraquat
              was likely to be inhaled, ingested, and absorbed into the bodies of persons who
              used them, were nearby while they were being used, or entered fields or orchards
              where they had been sprayed or areas near where they had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure.

       178.   At all relevant times, Defendant and those with whom it was acting in concert had

both constructive and actual knowledge that:

           a. adequate testing had not been performed to determine the extent to which
              exposure to paraquat was likely to occur through inhalation, ingestion, and
              absorption into the bodies of persons who used Defendants’ paraquat products,
              were nearby while they were being used, or entered fields or orchards where they
              had been sprayed or areas near where there had been sprayed;

           b. adequate testing had not been performed to determine the extent to which spray
              drift was likely to occur when Defendants’ paraquat products were used,
              including their propensity to drift, the distance they were likely to drift, and the
              extent to which paraquat spray droplets were likely to enter the bodies of persons
              spraying or others nearby during or after spraying;

           c. adequate testing had not been performed to determine the extent to which
              paraquat, when inhaled, ingested, or absorbed into the bodies of persons who used
              Defendants’ paraquat products, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed, were likely to cause or contribute to cause latent, cumulative,
              and permanent neurological damage, and the extent to which repeated exposures
              were likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long
              after exposure; and

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           d. adequate testing had not been performed to determine the extent to which
              paraquat, when formulated or mixed with surfactants or other pesticides or used
              along with other pesticides, and inhaled, ingested, or absorbed into the bodies of
              persons who used Defendants’ paraquat products, were nearby while they were
              being used, or entered fields or orchards where they had been sprayed or areas
              near where there had been sprayed, was likely to cause or contribute to cause
              latent, cumulative, and permanent neurological damage, and the extent to which
              repeated exposures were likely to cause or contribute to cause clinically
              significant neurodegenerative disease, including Parkinson’s disease, to develop
              over time and manifest long after exposure.

       179.    From the first date on which Defendant and those with whom it was acting in

concert placed Defendants’ paraquat products into the stream of commerce for use in the

Commonwealth of Pennsylvania through the last date on which Plaintiff was exposed to

Defendants’ paraquat products, Defendant and those with whom it was acting in concert engaged

in unfair or deceptive acts or practices, in violation of the UTPCPL, including but not limited to

deception, fraud, false pretense, false promise, misrepresentation or the concealment,

suppression, or omission of material facts, in designing, manufacturing, and distributing paraquat

for use in formulating Defendants’ paraquat products for distribution for sale and use in

Commonwealth of Pennsylvania and in designing, formulating, and distributing Defendants’

paraquat products for sale and use in the Commonwealth of Pennsylvania, in that they:

           a. concealed, suppressed, or omitted to disclose that Defendants’ paraquat products
              were designed, manufactured, formulated, and packaged such that paraquat was
              likely to be inhaled, ingested, and absorbed into the bodies of persons who used
              them, were nearby while they were being used, or entered fields or orchards
              where they had been sprayed or areas near where theyhad been sprayed;

           b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or
              absorbed into the bodies of persons who used Defendants’ paraquat products, were
              nearby while they were was being used, or entered fields or orchards where they
              had been sprayed or areas near where they had been sprayed, paraquat was likely
              to cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure;

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          c. concealed, suppressed, or omitted to disclose that adequate testing had not been
             performed to determine the extent to which exposure to paraquat was likely to
             occur through inhalation, ingestion, and absorption into the bodies of persons who
             used Defendants’ paraquat products, were nearby while they were being used, or
             entered fields or orchards where they had been sprayed or areas near where they
             had been sprayed;

          d. concealed, suppressed, or omitted to disclose that adequate testing had not been
             performed to determine the extent to which spray drift was likely to occur when
             Defendants’ paraquat products were used, including their propensity to drift, the
             distance they were likely to drift, and the extent to which paraquat spray droplets
             were likely to enter the bodies of persons spraying or others nearby during or after
             spraying;

          e. concealed, suppressed, or omitted to disclose that adequate testing had not been
             performed to determine the extent to which paraquat, when inhaled, ingested, or
             absorbed into the bodies of persons who used Defendants’ paraquat products,
             were nearby while they were being used, or entered fields or orchards where they
             had been sprayed or areas near where they had been sprayed, was likely to cause
             or contribute to cause latent, cumulative, and permanent neurological damage,
             and the extent to which repeated exposures were likely to cause or contribute to
             cause clinically significant neurodegenerative disease, including Parkinson’s
             disease, to develop over time and manifest long after exposure; and

          f. concealed, suppressed, or omitted to disclose that adequate testing had not been
             performed to determine the extent to which paraquat, when formulated or mixed
             with surfactants or other pesticides or used along with other pesticides, and
             inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
             paraquat products, were nearby while they were being used, or entered fields or
             orchards where they had been sprayed or areas near where they had been sprayed,
             was likely to cause or contribute to cause latent, cumulative, and permanent
             neurological damage, and the extent to which repeated exposures were likely to
             cause or contribute to cause clinically significant neurodegenerative disease,
             including Parkinson’s disease, to develop over time and manifest long after
             exposure.

       180.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania were unfair because they offended public

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policy, were immoral, unethical, oppressive, and unscrupulous, and caused substantial injury to

consumers.

       181.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania offended the clearly stated public policy of

the Commonwealth of Pennsylvania .

       182.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania offended the clearly stated public policy of

the as expressed in the Commonwealth of Pennsylvania.

       183.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania were immoral and unethical, as they served

only to benefit Defendant and those with whom it was acting in concert at the expense of the

heath of purchasers and users of Defendants’ paraquat products and the public.

       184.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating



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Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania were likely to cause substantial injury to

purchasers and users of paraquat and the public by exposing them to unnecessary risks to their

health.

          185.   These acts and practices of Defendant and those with whom it was acting in

concert in designing, manufacturing, and distributing paraquat for use in formulating

Defendants’ paraquat products for distribution for sale and use in the Commonwealth of

Pennsylvania and in designing, formulating, and distributing Defendants’ paraquat products for

sale and use in the Commonwealth of Pennsylvania were likely to cause, and did cause,

substantial injury to purchasers and users of paraquat and the public in that but for these acts and

practices, Defendants’ paraquat products would not have been purchased for use in Pennsylvania

and persons who used them, were nearby while they was being used, or entered fields or orchards

where they had been sprayed or areas near where it they been sprayed, would not have been

injured by exposure to paraquat.

          186.   Defendant and those with whom it was acting in concert in designing,

manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat products

for distribution for sale and use in the Commonwealth of Pennsylvania and in designing,

formulating, and distributing Defendants’ paraquat products for sale and use in the

Commonwealth of Pennsylvania          committed these acts and engaged in these practices in

conscious disregard of the safety of others.

          187.   The injuries caused by these acts and practices of Defendant and those with whom

it was acting in concert in designing, manufacturing, and distributing paraquat for use in



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formulating Defendants’ paraquat products for distribution for sale and use in the

Commonwealth of Pennsylvania and in designing, formulating, and distributing Defendants’

paraquat products for sale and use in the Commonwealth of Pennsylvania —namely, purchasers’

monetary losses and the injuries and damages (including monetary losses) to persons who used

them, were nearby while they were being used, or entered fields or orchards where they had been

sprayed or areas near where they had been sprayed—are not outweighed by any countervailing

benefit to consumers or competition.

        188.      The injuries caused by these acts and practices of Defendant and those with whom

it was acting in concert in designing, manufacturing, and distributing paraquat for use in

formulating Defendants’ paraquat products for distribution for sale and use in the

Commonwealth of Pennsylvania and in designing, formulating, and distributing Defendants’

paraquat products for sale and use in the Commonwealth of Pennsylvania —namely, purchasers’

monetary losses and the injuries and damages (including monetary losses) to persons who used

them, were nearby while they were being used, or entered fields or orchards where they had been

sprayed or areas near where they had been sprayed—were not reasonably avoidable; because

Defendant and those with whom it was acting in concert had and failed to disclose material non-

public information, consumers had no reason to anticipate the impending harm and thus avoid

their injuries.

        189.      Defendant and those with whom it was acting in concert intended that purchasers

of Defendants’ paraquat products, purchase them in reliance on these unfair and deceptive acts

and practices.




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       190.    The facts that Defendant and those with whom it was acting in concert concealed,

suppressed, or omitted to disclose were material to the decisions to purchase Defendants’

paraquat products, and would not have been purchased had these facts been disclosed.

       191.    These unfair and deceptive acts and practices of Defendant and those with whom

it was acting in concert occurred in connection with their conduct of trade and commerce in the

Commonwealth of Pennsylvania.

       192.    These unfair and deceptive acts and practices of Defendant and those with whom

it was acting in concert violated the UTPCPL.

       193.    Defendant and those with whom it was acting in concert committed these unfair

and deceptive practices knowing they created a substantial risk of harm to those who purchased

and used Defendants’ paraquat products in the Commonwealth of Pennsylvania.

            G. Breach of implied warranty of merchantability

       194.    At all relevant times, Defendant and those with whom it was acting in concert

were engaged in the U.S. paraquat business.

       195.    At all relevant times, Defendant and those with whom it was acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the State of

Michigan.

       196.    Defendant and those with whom it was acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat

products, and developed, registered, formulated and distributed Defendants’ paraquat products

for sale and use in the U.S., including Michigan.




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        197.     Plaintiff used Defendants’ paraquat products in Michigan repeatedly and regularly

 for hours at a time, resulting in the repeated, regular, and prolonged exposure of Plaintiff to

 paraquat.

        198.     At the time of each sale of Defendants’ paraquat products that resulted in

 Plaintiff’s exposure to paraquat, Defendant and those with whom it was acting in concert

 impliedly warranted that Defendants’ paraquat products were of merchantable quality, including

 that they were fit for the ordinary purposes for which such goods were used, pursuant to

 M.C.L.A. 440.2314.

        199.     Defendant and those with whom it was acting in concert breached this warranty as

 to each sale of Defendants’ paraquat products that resulted in Plaintiff’s exposure to paraquat, in

 that Defendants’ paraquat products were not of merchantable quality because they were not fit

 for the ordinary purposes for which such goods were used, and in particular:

              a. they were designed, manufactured, formulated, and packaged such that paraquat
                 was likely to be inhaled, ingested, and absorbed into the bodies of persons who
                 used them, were nearby while they were being used, or entered fields or orchards
                 where they had been sprayed or areas near where they had been sprayed; and

              b. when inhaled, ingested, or absorbed into the bodies of persons who used
                 Defendants’ paraquat products, were nearby while they were being used, or
                 entered fields or orchards where they had been sprayed or areas near where they
                 had been sprayed, paraquat was likely to cause or contribute to cause latent,
                 cumulative, and permanent neurological damage, and repeated exposures were
                 likely to cause or contribute to cause clinically significant neurodegenerative
                 disease, including Parkinson’s disease, to develop over time and manifest long
                 after exposure.

VIII.   Plaintiffs’ Individual Allegations And Causes Of Action

               COUNT 1 - STRICT PRODUCT LIABILITY - DESIGN DEFECT
                   PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

        200.     Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

 Complaint.

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       201.    As a direct and proximate result of the defective and unreasonably dangerous

condition of Defendants’ paraquat products, Plaintiff Paul Friday developed Parkinson’s disease;

has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and will

continue to do so for the remainder of his life; has lost income that he otherwise would have

earned and will continue to do so for the remainder of his life; and has incurred reasonable

expenses for necessary medicaltreatment and will continue to do so for the remainder of his life.


          COUNT 2 – STRICT PRODUCT LIABILITY – FAILURE TO WARN
                PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

       202.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       203.    As a direct and proximate result of the lack of adequate directions for the use of

and warnings about the dangers of Defendants’ paraquat products, Plaintiff Paul Friday

developed Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish,

and disability, and will continue to do so for the remainder of his life; has suffered the loss of a

normal life and will continue to do so for the remainder of his life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of his life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.


                              COUNT 3 - NEGLIGENCE
                     PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

       204.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.



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       205.    As a direct and proximate result of the negligence of Defendant and those with

whom it was acting in concert, Plaintiff Paul Friday developed Parkinson’s disease; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so

for the remainder of his life; has suffered the loss of a normal life and will continue to do so for

the remainder of his life; has lost income that he otherwise would have earned and will continue

to do so for the remainder of his life; and has incurred reasonable expenses for necessary medical

treatment and will continue to do so for the remainder of his life.


                           COUNT 4 – PUBLIC NUISANCE
                    PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

       206.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       207.    As a direct and proximate result of the public nuisance created by Defendant and

those with whom it was acting in concert, Plaintiff Paul Friday developed Parkinson’s disease;

has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and will

continue to do so for the remainder of his life; has lost income that he otherwise would have

earned and will continue to do so for the remainder of his life; and has incurred reasonable

expenses for necessary medicaltreatment and will continue to do so for the remainder of his life.


 COUNT 5 - UNFAIR TRADE PRACTICES ACT AND UNFAIR TRADE PRACTICES
                   AND CONSUMER PROTECTION LAW
              PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

       208.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.




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       209.    As a direct and proximate result of the violations of the Unfair and Prohibited

Trade Practices and Frauds Act and Unfair Trade Practices and Consumer Protection Law by

Defendant and those with whom it was acting in concert, Plaintiff Paul Friday developed

Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish, and

disability, and will continue to do so for the remainder of his life; has suffered the loss of a

normal life and will continue to do so for the remainder of his life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of his life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.


      COUNT 6 - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 PLAINTIFFS v. DEFENDANTS SCPLLC AND SAG

       210.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       211.    As a direct and proximate result of the breaches of the implied warranty of

merchantability by Defendant and those with whom it was acting in concert, Plaintiff Paul Friday

developed Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish,

and disability, and will continue to do so for the remainder of his life; has suffered the loss of a

normal life and will continue to do so for the remainder of his life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of his life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.




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              COUNT 7 – STRICT PRODUCT LIABILITY - DESIGN DEFECT
                 PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       212.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       213.    As a direct and proximate result of the defective and unreasonably dangerous

condition of Defendants’ paraquat products, Plaintiff Paul Friday developed Parkinson’s disease;

has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and will

continue to do so for the remainder of his life; has lost income that he otherwise would have

earned and will continue to do so for the remainder of his life; and has incurred reasonable

expenses for necessary medical treatment and will continue to do so for the remainder of his life.


           COUNT 8 – STRICT PRODUCT LIABILITY - FAILURE TO WARN
               PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       214.    Plaintiffs incorporate in this Count by reference 1 through 199 of this Complaint.

       215.    As a direct and proximate result of the lack of adequate directions for the use of

and warnings about the dangers of Defendants’ paraquat products, Plaintiff Paul Friday

developed Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish,

and disability, and will continue to do so for the remainder of his life; has suffered the loss of a

normal life and will continue to do so for the remainder of his life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of his life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.




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                             COUNT 9 - NEGLIGENCE
                  PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       216.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       217.    As a direct and proximate result of the negligence of Defendant and those with

whom was acting in concert, Plaintiff Paul Friday developed Parkinson’s disease; has suffered

severe and permanent physical pain, mental anguish, and disability, and will continue to do so

for the remainder of his life; has suffered the loss of a normal life and will continue to do so for

the remainder of his life; has lost income that he otherwise would have earned and will continue

to do so for the remainder of his life; and has incurred reasonable expenses for necessary medical

treatment and will continue to do so for the remainder of his life.


                          COUNT 10 – PUBLIC NUISANCE
                  PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       218.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       219.    As a direct and proximate result of the public nuisance created by Defendant and

those with whom it was acting in concert, Plaintiff Paul Friday developed Parkinson’s disease;

has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of his life; has suffered the loss of a normal life and will

continue to do so for the remainder of his life; has lost income that he otherwise would have

earned and will continue to do so for the remainder of his life; and has incurred reasonable

expenses for necessary medical treatment and will continue to do so for the remainder of his life.




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 COUNT 11 - UNFAIR TRADE PRACTICES ACT AND UNFAIR TRADE PRACTICES
                   AND CONSUMER PROTECTION LAW
              PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       220.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       221.    As a direct and proximate result of the violations of the Consumer Fraud and

Deceptive Business Practices Act by Defendant and those with whom it was acting in concert,

Plaintiff Paul Friday developed Parkinson’s disease; has suffered severe and permanent physical

pain, mental anguish, and disability, and will continue to do so for the remainder of his life; has

suffered the loss of a normal life and will continue to do so for the remainder of his life; has lost

income that he otherwise would have earned and will continue to do so for the remainder of his

life; and has incurred reasonable expenses for necessary medical treatment and will continue to

do so for the remainder of his life.


     COUNT 12 - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
              PLAINTIFFS v. DEFENDANT CHEVRON U.S.A., INC.

       222.    Plaintiffs incorporate in this Count by reference paragraphs 1 through 199 of this

Complaint.

       223.    As a direct and proximate result of the breaches of the implied warranty of

merchantability by Defendant and those with whom it was acting in concert, Plaintiff Paul Friday

developed Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish,

and disability, and will continue to do so for the remainder of his life; has suffered the loss of a

normal life and will continue to do so for the remainder of his life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of his life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for the

remainder of his life.
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                  COUNT 13 – LOSS OF SERVICES AND CONSORTIUM
                   PLAINTIFF LUIBA FRIDAY v. ALL DEFENDANTS

       224.    Plaintiff Luiba Friday incorporates in this Count by reference all of Count 1

through 12 and paragraphs 1 through 199 of this Complaint.

       225.    As a direct and proximate result of the defective and unreasonably dangerous

condition of Defendants’ paraquat products, Plaintiff Luiba Friday has been deprived and is

reasonably certain to be deprived in the future of the services, society, and companionship of and

sexual relationship with her husband.

IX.    Plaintiffs’ Prayers For Relief

           A. Plaintiff Paul Friday

       226.    Plaintiff Paul Friday prays that this Court enter judgment in his favor and against

Defendants SYNGENTA CROP PROTECTION LLC, SYNGENTA AG, and CHEVRON

U.S.A., INC., jointly and severally for compensatory damages in an amount greater than

$75,000.00 plus costs of suit, severally as to each Defendant for punitive damages in an amount

sufficient to punish it and encourage it and others from similar conduct, for reasonable attorney’s

fees, and for such further relief as is just and appropriate in the circumstances.

           B. Plaintiff Luiba Friday

       227.    Plaintiff Luiba Friday prays that this Court enter judgment in her favor and

against Defendants SYNGENTA CROP PROTECTION LLC, SYNGENTA AG, and

CHEVRON U.S.A., INC., jointly and severally for compensatory damages in an amount greater

than $75,000.00 plus costs of suit, severally as to each Defendant for punitive damages in an

amount sufficient to punish it and encourage it and others from similar conduct, for reasonable

attorney’s fees, and for such further relief as is just and appropriate in the circumstances.



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 X.     Demand for jury trial

        228.    Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand

a jury trial as to all issues triable by a jury.

                 Dated: April 30, 2021.            Respectfully submitted,

                                                   /s/ Robert J. Mongeluzzi
                                                   Robert J. Mongeluzzi
                                                   Lawrence R. Cohan
                                                   Jeffrey P. Goodman
                                                   Joshua C. Cohan
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               *Applications for admission pro hac vice to be filed




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